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        January 27, 2022

        Betsy Bates, Board President
        Wentzville R-IV School District
        280 Interstate Drive
        Wentzville, MO 63385

                  Re:    Removal of The Bluest Eye

        Dear Ms. Bates:

        The National Coalition Against Censorship is an alliance of national nonprofit groups dedicated
        to protecting freedom of expression, including the rights of K-12 students, teachers and staff.
        We are writing in regard to the Board’s recent decision to remove Nobel Prize winner Toni
        Morrison’s book The Bluest Eye from district libraries and curriculum.

        We are concerned about this decision because we note that at least one Board member
        expressed the belief that The Bluest Eye is obscene under Missouri law, and that the district
        might expose itself to liability if it did not remove the book. We are writing to assure the district
        that The Bluest Eye does not fall afoul of Missouri law. Because this misunderstanding about
        Missouri law might have led some Board members to vote to remove the book, we urge you to
        ask the Board to reconsider its decision.

        Section 573 of the Revised Statutes of Missouri indeed makes it illegal to promote obscene
        material or to furnish to minors material which is “pornographic for minors.” However, both
        “obscene” materials and materials “pornographic to minors” are defined very narrowly.

        Under section 573.010, materials are not obscene unless “taken as a whole: (a) Applying
        contemporary community standards, its predominant appeal is to prurient interest in sex; and
        (b) The average person, applying contemporary community standards, would find the material
        depicts or describes sexual conduct in a patently offensive way; and (c) A reasonable person
        would find the material lacks serious literary, artistic, political or scientific value[.]”

        The definition of “pornographic to minors” is similar; material is “pornographic for minors” only
        if “(a) The average person, applying contemporary community standards, would find that the
        material or performance, taken as a whole, has a tendency to cater or appeal to a prurient
        interest of minors; and (b) The material or performance depicts or describes nudity, sexual
        conduct, the condition of human genitals when in a state of sexual stimulation or arousal, or
        sadomasochistic abuse in a way which is patently offensive to the average person applying



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contemporary adult community standards with respect to what is suitable for minors; and (c)
The material or performance, taken as a whole, lacks serious literary, artistic, political, or
scientific value for minors;

Thus, The Bluest Eye simply cannot be labeled either obscene or “pornographic to minors”
unless it lacks has serious literary value for adults or minors, respectively. It is impossible to
argue that that is the case.

Perhaps the most obvious evidence that The Bluest Eye does not lack serious literary merit is
the fact that the District’s book review committee voted to retain the book. Surely, the
committee would not have recommended retaining a book that lacks serious literary merit; nor
would librarians and educators in the district have acquired such a book in the first place.
Moreover, the one committee member who voted to remove the book did not take issue with
its literary merit, but rather stated simply: “Graphic Content- low reader usage, low demand.”

In addition, The Bluest Eye is listed as an exemplar text by the Common Core State Standards
for English Language Arts & Literacy in History/Social Studies, Science, and Technical Subjects,1
which indicates that it clearly has serious literary merit. Finally, the fact that The Bluest Eye
deals with child sexual abuse renders it of value to students; child sexual abuse is an issue faced
by thousands of children in the state of Missouri, as evidenced by the fact that the Missouri
Department of Social Services calls attention to this very issue every year with an annual report
on incidents in the state.2

We urge the Board to reconsider its decision regarding The Bluest Eye.

Thank you for your attention to this important issue.

Sincerely yours,




Christopher Finan
Executive Director
National Coalition Against Censorship




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1   See Appendix B of the standards, available at http://www.corestandards.org/assets/Appendix_B.pdf              Fund
2   The fiscal year 2021 report is available here: https://dss.mo.gov/re/pdf/can/2021-can-annual-report.pdf     National Council of Teachers of
                                                                                                                  English




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